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IN THE UNT'I'ED STATES DIS'I`R.ICT COURT
FOR THE SOUTHERN DIS'I`RICT OF TEXAS
LAREDO DIVISION

MARIA 1. SAN'I`OS

V, Civil Action No. 5:15-¢\"00032

AMERICAN MODERN HOME
INSURANCE COMPANY

ORDER GRANTING A§REEQ ,]OIN'I` STIPULATION

OF DISMIS WITH P ICE

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Aftcr considering the Agreed Joint Stipulation of Dismissal With Prcjudice filed in this
case by Plaintiff, Maria I. Santos ("Plainti&"), and the Defendant, Amcrican Modem Homc
Insurancc Company ("Defendant"), the Court is of thc opinion that the Agteed Joint Stipulation
ofDism.issal with Prcjudicc should be GRANTED. It is therefore

ORDERED that ali claims that were or could have been asserted by Plaintift` against
Dcfcndant in this case matter are hereby DISMISSED WITH PREJUDICE* It is fim:her

ORDERED that each party will befu' its own costs and attorncy's feos.

signed this Mof A#g£ ,2015.
UNHB§ s'rATEs Dlsg'ri¢uci~ mn§a

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